  CASE 0:16-cv-01127-JRT-DTS Document 274-1 Filed 07/05/18 Page 1 of 2




Safety Planning Exercise

        Justin and Marcus have been dating since the beginning of theirfirst year at St. Thomas, in the
        past few weeks, Justin has started questioning Marcus about recent behavior. Justin continually
        asks who Marcus talks to In class, why there was no answer when he texted, and Insists on
        checking Marcus's phone and snapchat account. Marcus has not paid much attention to these
        comments, but lately Justin has sounded and appeared angry most of the time. Justin has been
        yelling at Marcus outside in the Quad, calling him names, using profanity, then apologizing. Last
        night Justin hit Marcus. When Marcus tried to leave, Justin told Marcus he wouldn't find anyone
        else who loves him as much as Justin does. Marcus is upset because he loves Justin and says the
        fight wasn't that big of deal, and he just wants to know how to fix their relationship.



As a Process Advisor for Marcus who wants help in this situation, list the questions or issues you could
discuss in regards to safety planning with Taylor.




                                                                         Factfinder training - May 13, 2015




       EXHIBIT 1
                                                                                                              UST00004469
  CASE 0:16-cv-01127-JRT-DTS Document 274-1 Filed 07/05/18 Page 2 of 2




Reflection and looking forward....

The most valuable things I have learned through these factfinder trainings have been...




As you reflect on your own readiness to participate as a factfinder ora process advisor, what skill areas
do you feel less confident about?




What topics should we consider for future training sessions:




                                                                        Factfinder training - May 13, 2015




                                                                                                             UST00004470
